Case 9:22-mj-08332-BER Document 146 Entered on FLSD Docket 06/14/2023 Page 1 of 1

 

 

 

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FILED BY__M™__ep.c.
Jun 12, 2023
ANGELA E NOBLE IN THE UNITED STATES DISTRICT COURT
S.0.OF FLA. - wen FOR THE SOUTHERN DISTRICT OF FLORIDA

 

IN THE MATTER OF THE SEARCH OF | Case No. 22-mj-8332-BER

OF THE PREMISES, DEVICES, AND Case No. 22-mj-8489-BER
ACCOUNTS IDENTIFIED IN Case No. 22-mj-8533-BER
ATTACHMENT A Case No. 22-mj-8534-BER

Case No. 22-mj-8547-BER
Case No. 22-mj-8548-BER
Case No. 22-mj-8549-BER
Case No. 22-mj-8550-BER

 

Filed Under Seal

 

ORDER
The Government's motion for partial unsealing is GRANTED. The Government may
disclose the above-captioned search warrants, supporting affidavits, and accompanying
documents (the "Search Warrant Materials") to the defendants as discovery in United States v.
Donald J. Trump and Waltine Nauta, SDFL case number 23-80101-CR-Cannon/Reinhart.
The Government also may disclose the Search Warrant Materials as required in any
court proceeding regarding the existence of, and other information about, the Search

Warrant Materials. The Search Warrant Materials otherwise remain under seal and cannot be

disclosed without further order of the Court. je CELE
Date: 6 jj a i, 3

Hon. Bruce E. Reinhart
United States Magistrate Judge
